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UN|TED STATES OF AlVlERlCA
Plaintiff

VS.
CR. NO. 05-20029-D

ANTHONY WlLL|S

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 With a rem
date ofThursdav. June 30. 2005. at 9:00 a.m.. in Courtroom 3, 9th Floor ofthe Federal
Bui|ding, l\/lemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT is so oRoERED this 020 day of lvlay, 2005.

 
    
  

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This notice confirms a copy of the document docketed as number 27 in
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May 24, 2005 to the parties listed.

 

 

L. Daniel Johnson

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Honorable Bernice Donald
US DISTRICT COURT

